                                                                    The Honorable Timothy W. Dore
 1                                                                                         Chapter 13
                                                                         Hearing Date: July 15, 2022
 2
                                                                                      Time: 9:30 am
 3                                                           Hearing Location: US Courthouse Seattle
                                                                            700 Steward St, 8th Floor
 4                                                                                  Courtroom 6301
                                                                                  Seattle, WA 98101
 5                                                                      Response Due: July 14, 2022
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 8
                            UNITED STATES BANKRUPTCY COURT
 9                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
     IN RE:
10                                                           Case No. 22-10025-TWD
     JOAN RAIDER RAWLINGS
11                                                           Chapter: 13
                                  Debtors.
12                                                           NOTICE OF HEARING ON
                                                             DEBTOR’S MOTION TO APPROVE
13                                                           REVERSE MORTGAGE
14
           PLEASE TAKE NOTICE that the hearing on Debtor’s Motion to Approve Reverse
15   Mortgage will be held on July 15, 2022

16      JUDGE:                 The Honorable Timothy W. Dore
        PLACE:                 US Courthouse Seattle
17                             700 Steward St, 8th Floor
                               Courtroom 6301
18
                               Seattle, WA 98101
19      DATE:                  July 15, 2022
        TIME:                  9:30 AM
20      RESPONSE               June 14, 2022 at 3:00pm
        DATE:
21
              IF YOU OPPOSE the Motion, you must file your written response with the Court Clerk
22
     and deliver copies on the undersigned NOT LATER THAN THE RESPONSE DATE, which is
23

24   July 15, 2022. If you file a response, you are also required by July 14, 2022 at 3:00pm.

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     NOTICE OF HEARING - 1                                     HENRY & DeGraaff, PS
                                                              113 Cherry St, PMB 58364
                                                                   Seattle, WA 98104
      Case 22-10025-TWD         Doc 56                    V (206) 330-0595
                                             Filed 07/11/22 Ent. 07/11/22    / F (206) 400-7609 Pg. 1 of 2
                                                                                   10:09:46
            IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
 1

 2   GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and

 3   strike the hearing. Objections not on file and served as set forth may be deemed waived.

 4          DATED this July 11, 2022.
 5                                               HENRY & DEGRAAFF, P.S.
 6
                                                 By: /s/ Christina L Henry
 7                                               Christina L Henry WSBA #31273
                                                 113 Cherry St, PMB 58364
 8                                               Seattle, WA 98104-2205
                                                 Tel# 206-330-0595
 9                                               chenry@hdm-legal.com
                                                 Attorney for the Debtor
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     NOTICE OF HEARING - 2                                   HENRY & DeGraaff, PS
                                                            113 Cherry St, PMB 58364
                                                                 Seattle, WA 98104
      Case 22-10025-TWD         Doc 56                  V (206) 330-0595
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                                                                                 10:09:46
